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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )                8:08CR355
                                                )
FELICIA RAE MCCAULEY and                        )                  ORDER
LESTINA BELTRAN,                                )
                                                )
                     Defendants.                )


       This matter is before the court on the motion (Doc. 34) of defendant, Lestina
Beltran, to continue trial. The movant has complied with the requirements of NECrimR 12.1
and/or 12.3. Based on counsel's representations, trial will be continued to January 6,
2009.

       IT IS ORDERED that the motion (Doc. 34) is granted, as follows:

      1. The jury trial now set for December 16, 2008 is continued to Tuesday, January
6, 2009 as to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between December 16, 2008 and January 6, 2009, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act because counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B)(iv).

       DATED December 10, 2008.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
